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                    Exhibit A
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                                                                                                                                       Ron DeSantis
    Mission:                                                                                                                                 Governor
    To protect, promote & improve the health
    of all people in Florida through integrated
    state, county & community efforts.                                                                                 Joseph A. Ladapo, MD, PhD
                                                                                                                                  State Surgeon General

                                                          Vision: To be the Healthiest State in the Nation



October 3, 2024

Alan Chatman & Mike Jones
WCJB-TV
6220 NW 43rd Street
Gainesville FL 32653
alan.chatman@wcjb.com
mike.jones@graymedia.com

Dear Mr. Chatman & Mr. Jones:

The Florida Department of Health has been notified that your company is disseminating a political
advertisement claiming that current Florida law does not allow physicians to perform abortions necessary
to preserve the lives and health of pregnant women. 1

This claim is categorically false. Florida’s Heartbeat Protection Act does not prohibit abortion if a
physician determines the gestational age of the fetus is less than 6 weeks. § 390.0111(1), Fla. Stat. After
6 weeks, an abortion may be performed if “[t]wo physicians certify in writing that, in reasonable medical
judgment, the termination of the pregnancy is necessary to save the pregnant woman’s life or avert a
serious risk of substantial and irreversible physical impairment of a major bodily function of the pregnant
woman other than a psychological condition.” § 390.0111(1)(a), Fla. Stat. The two-physician requirement
is waived in the case of an emergency medical procedure. § 390.0111(1)(b), Fla. Stat. And while
physicians must exercise professional skill, care, and diligence to preserve the life and health of a fetus in
the third trimester, “if preserving the life and health of the fetus conflicts with preserving the life and
health of the pregnant woman, the physician must consider preserving the woman’s life and health the
overriding and superior concern.” § 390.0111(4), Fla. Stat.

The advertisement is not only false; it is dangerous. Women faced with pregnancy complications posing
a serious risk of death or substantial and irreversible physical impairment may and should seek medical
treatment in Florida. However, if they are led to believe that such treatment is unavailable under Florida
law, such women could foreseeably travel out of state to seek emergency medical care, seek emergency
medical care from unlicensed providers in Florida, or not seek emergency medical care at all. Such actions
would threaten or impair the health and lives of these women.

Under section 386.01, Florida Statutes, “the commission of any act, by an individual, municipality,
organization, or corporation . . . by which the health or life of an individual, or the health or lives of
individuals, may be threatened or impaired” constitutes a “sanitary nuisance.” The Department of Health,

1
  The advertisement is displayed on the home page of the Amendment sponsor’s website under the title “Caroline.”
See https://floridiansprotectingfreedom.com/. The woman featured in the advertisement states: “The doctors knew
if I did not end my pregnancy, I would lose my baby, I would lose my life, and my daughter would lose her mom.
Florida has now banned abortion even in cases like mine.”

    Florida Department of Health
    Office of the General Counsel                                                                            Accredited Health Department
    4052 Bald Cypress Way, Bin A-02 • Tallahassee, FL 32399-1701                                             Public Health Accreditation Board
    PHONE: 850/245-4444 • FAX: 850/245-4790
    FloridaHealth.gov
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                                                                                STATE OF FLORIDA
                                                                           DEPARTMENT OF HEALTH


upon determining the existence of such nuisance, must notify the person or persons committing the
nuisance “to remove or cause to be removed the same within 24 hours.” § 386.03(1), Fla. Stat. If the
nuisance is not removed within the time prescribed, the Department is authorized to institute legal
proceedings under section 381.0012, Florida Statutes, to obtain an injunction. § 386.03(2)(c), Fla. Stat.
The Department is further authorized to “[i]nstitute criminal proceedings in the county court in the
jurisdiction of which the condition exists against all persons failing to comply with notices to correct
sanitary nuisance conditions.” § 386.03(2)(b), Fla. Stat. Creating, keeping, or maintaining a nuisance
injurious to health is a second-degree misdemeanor. § 386.051, Fla. Stat.

While your company enjoys the right to broadcast political advertisements under the First Amendment of
the United States Constitution and Article I, section 4 of the Florida Constitution, that right does not
include free rein to disseminate false advertisements which, if believed, would likely have a detrimental
effect on the lives and health of pregnant women in Florida.



                                                    /s/ John Wilson
                                                    John Wilson
                                                    General Counsel
                                                    Florida Department of Health




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